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From: Rose M Jones
18982 Runyon St.
Detroit MI 48234
Telephone No. 313 521-6471

 

Date: October 29, 2019

CC: Ben Barnow Stephen J. Newman
Barnow and Associates, P.C. Stroock & Stroock & Lavan LLP
205 West Randolph Street, Suite 1630 2029 Century Park East, 18th Floor
Chicago, IL 60606 Los Angeles, CA 90067

Re: Zappos Class Action Suit

| am requesting the Court to deny approval of the proposed Zappos settlement which is
a 10% discount on Zappos products. This proposal would only enrich the company and
not make amends for the damage that was done to consumers during the data breach.

| was informed by Zappos that | was a customer in January 2012 and a Settlement Class
Member. | do not intend to appear at the Final Approval Hearing.

To repeat the reason for my objection to this proposal, a 10% discount coupon to each
customer would only enrich the company and not make amends for the damage that
was done to consumers during the data breach.

If possible, | would like to become one of the class representatives.

Thank you
pen M

Rose M. Jones

 
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8982 RUNYON ST
ETROIT, MI 48234

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